Case: 1:18-cv-02168 Document #: 32-3 Filed: 01/15/19 Page 1 of 3 PagelD #:152

John Baldwin

Bruce Rauner
Acting Director

Governor

 

The {ilinols Department of Corrections

 

1301 Concordia Court. P.O. Box 19277 © Sprinafield. IL 62794-9277 * (217) 558-2200 TDD: (800) 526-0844

 

 

 

, i y Joe
Offender: {904 Hea, MeiLe MLAs 7
" Ses Date
ID# : ELA BGS
Facility: d/p ty //'//
This is in response to your grievance received on Mla tT This office has determined the issue will be addressed without

a formal hearing. A review of the Grievance, Grievance Officer/CAO response to the grievance has been conducted. Fora grievance that

is direct review by the ARB, a review of the Grievance has been conducted.
Your issue regarding: Grievance dated: SANG Lo Grievance Number: Hi Gla Griev Loc: Lib.

 

 

 

 

 

 

 

 

 

 

(1 Transfer denied by the Facility

1 Oietary

C Personal Property

(2 Mailroom/Publications

(1 Assignment (job, cell)

[) ~Commissary / Trust Fund

(1 Conditions (cell conditions, cleaning supplies, etc.)

C) Disciplinary Report: Dated: Ss Incident #

a Other Veal: il f= tf : atthe ut ha Lilet Lau i £ i Luiz He fei L au i: ii Lig Af Sar Sf Wi t)

Based on a review of all available information, this office has determined your grievance to be:

C) Affirmed, Warden is advised to (0 Denied as the facility is following the procedures outlined in

provide a written response of corrective action to this office by DR525.
" [) Denied as procedures were followed in accordance with DR

(1 Denied, in accordance with DR504F, this is an administrative 420 for removal/deniat of an offender from/or an assignment.
decision. CO Denied as this office finds no violation of the offender's due

A Denied, this office finds the issue was appropriately addressed process in accordance with DR504.80 and DR504.30. This
by the facility Administration. office is reasonably satisfied the offender committed the

J) / J P offense cited in the report. a
O Other: 46 22/44 Yo Fa bind £3 td, UALS AET Mitt ig Li: (iM LL pres of Lh, ghee
tf / 4

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a i - 3 ~
FOR THE BOARD: / / 4s ITE OT am CONCURRED: UL #4. TINEA
~~. @ Debbie Knauer John R. Baldwin “¢
Administrative Review Board Acting Director
CC: Warden, Correctional Center
UPS Dt 6/3:

 

 

  

Mission: To serve justice in lilinols and increase public safety by promoting positive ch
offender behavior, operating successful reentry programs, and reducing victimizat

www. iilinols.gov/iidoc

   

PLAINTIFF'S
EXHIBIT
C

      
 
Case: 1:18-cv-02168 Document #: 32-3 Filed: 01/15/19 Page 2 of 3 PagelD #:153

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Knauer, Debbie

From: Utke, Tiffany

Sent: Wednesday, November 29, 2017 10:35 AM
Ta: Knauer, Debbie

Subject: RE: Terrance Woods B15395

Per the clinic note, mold was a suspect but did not say where the mold was. | believe this is all self-reporting from the
offender. He has been seen multiple time regarding his issues. He was seen on these dates. 9/6, 9/20, 10/30, 11/13, and

11/27.

 

From: Knauer, Debbie

Sent: Wednesday, November 29, 2017 9:53 AM
To: Miller, Michelle R.

Ce: tke, Tiffany

Subject: RE: Terrance Woods B15395

Please advise as | am unable to finafize the grievance without your response.

Debbie Knauer

 

From: Knauer, Debbie

Sent: Wednesday, October 18, 2017 9:19 AM
To: Miller, Michelle R.

Ce: Utke, Tiffany; Connors-Johnson, Debra
Subject: Tefranwe Woods B15395

lam reviewing a grievance from Woods dated 5/24/17 wherein he states the mold in the school/law library as caused
him numerous health issues with the latest issue being eye pain and irritation. The-G.0. response states the optometrist
exam indicates “suspect mold as etiology of eye allergies”. Can you tell me what treatment he has received and if the
mold is what caused the eye Irritation?

Thanks

Debbie Knauer

Office of Inmate Issues
Administrative Review Board
217-558-2200 Ext. 2035

Fax 217-522-1957

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product privilege, or any other exemption from disclosure.
Case: 1:18-cv-02168 Document #: 32-3 Filed: 01/15/19 Page 3 of 3 PagelD #:154

RECEIVED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bw is
‘ ILLINOIS DEPARTMENT OP CORRECTIONS
7 Offender Optometric Examination AUG 02 2017
State he Ce MENISTRATIVE
EVIEW BOARD
CJ Baseline [J Annual Offender Information:
Date: cam ee FEO f.. IDF: 6) FB95
The: ) Z) Ss ope. Last Name Name Mi
a @é@
Chief Complaint: Eure AmAatony O,u,
APE: < Ocular Alston:
Location: C] Cataracts:
Duration: CJ Glaucoma:
Onset : C1 Disease:
Severity: (J Traume/Surgery:
Timing: _ C1 Strabismus:
j Modifiers: (J Ampblyopia:
Medical History: (J NippM ©] ippm (] Hypertension OO Other:
Visual Acuity: Uncorrected Distance: CJ OD 20/ 0 os 20/ {] OU 207
a Uncorrected Near: L] oD 20 CJ os 20f CI ou 207
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, OS 20/ Data: i !
Refraction: OD 20/ Type: FI sv C) Bifocal
os 20/ Data: f I
Near: oD 20/ Types: C) sv DO Bifocat
Puplis: CJ Round C Equal [J Responds to Light/Accommodation (7 APD
Motillities: C] Fut () Abnornal Confrontational Fields: O Fur DO Abnormal
Tenometry: (J Applanation (2 Tonopen C ner OD Os Time:

 

 

 

 

Distance Near

Chamber

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

'-sthalmoscopy: WNL | ABNL Right Left "| Method:
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Macuta {7 7aD
Perlphery ‘ CI 3 mirror
Vitreous VY _ C) Other:
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Assessment/Plan: 1. Lael i “
2, |! Loli
3.
4.
&, <j jf [ nap 2s LA
Medications Ordered: BAtidin CfA, SK Fi a irinagl Mecha _
Eyeglasses Ordered: Frame Size: _- Color:
Rx: OD Add: Seg Height:
os Osv Orrs C Readingony pp

 

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Distribution: Offenders Medical Record
Printed on Reyeted Paper

 
